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 https://twitter.com/Pauly0x/status/1673690881302339584
                                                   1
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 https://twitter.com/Pauly0x/status/1620158732872331264
                                                   2
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 https://twitter.com/pauly0x/status/1731530889400643933
                                                   3
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 https://twitter.com/pauly0x/status/1730572451459760223
                                                   4
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 https://twitter.com/pauly0x/status/1730581062353383810
                                                   5
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 https://twitter.com/Pauly0x/status/1734595842701472212
                                                 6
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 https://twitter.com/Pauly0x/status/1684409079849168897
                                                   7
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 https://twitter.com/Pauly0x/status/1688650038220910592
                                                   8
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  https://twitter.com/Pauly0x/status/1664680564492738561
                                                    9
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  https://twitter.com/Pauly0x/status/1670615969020903424
                                                   10
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  https://twitter.com/Pauly0x/status/1671560194126389248
                                                   11
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  https://twitter.com/Pauly0x/status/1638665845407887363
                                                   12
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                                                   13
